Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 1 of 16 PageID# 9128




                        Exhibit 1
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 2 of 16 PageID# 9129




                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   (Alexandria Division)

  GERARD MORRISON, et al.,                     )
                                               )
                   Plaintiff,                  )
                                                            Civil Action No. 1:14cv5
                                               )
  vs.                                          )
                                                            Judge Hilton
                                               )
                                                            Magistrate Judge Anderson
  COUNTY OF FAIRFAX, VA.,                      )
                                               )
                   Defendant.                  )
                                               )
                                               )


                                   SETTLEMENT AGREEMENT

         This Settlement Agreement (“Agreement”) is made and entered into by and among all the

 Parties in the captioned case, namely Plaintiffs, each of whom are identified on Exhibit A

 attached hereto, and who have consented to be party Plaintiffs in the captioned case, and the

 Defendant, the County of Fairfax, Virginia (the “County”), and is based on the following:

 I.      RECITALS

        1.1     Plaintiffs are 176 individuals employed or formerly employed by the County. On

January 3, 2014, they filed a complaint in this Court seeking overtime pay pursuant to the Fair

Labor Standards Act (“FLSA”) and Virginia State law, Va. Code Ann.§§ 9.1-701 et seq. (“State

Law Claim”). Thereafter, Plaintiffs withdrew their State Law Claim without prejudice.

        1.2     On May 7, 2014, Plaintiffs submitted letters to the County’s Board of Supervisors,

asserting their State Law Claims. The Board of Supervisors did not act upon Plaintiffs’ claims

within 90 days of Plaintiffs’ letters.

        1.3     In the captioned case, Plaintiffs alleged that the County failed to properly pay them

overtime compensation under the FLSA, 29 U.S.C. § 201 et seq.
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 3 of 16 PageID# 9130




        1.4     Both parties filed motions for summary judgment on liability and on the issues of

willfulness and liquidated damages related to the County’s efforts to comply with the FLSA. On

October 31, 2014, the Court granted the County’s motion for summary judgment on liability,

concluding that Plaintiffs were exempt from the FLSA pursuant to the executive exemption.

Because it ruled in the County’s favor on liability, the Court did not decide the remaining issues.

        1.5     Plaintiffs appealed. On June 21, 2016, the United States Court of Appeals for the

Fourth Circuit, reversed, directing the district court to enter summary judgment in favor of the

Plaintiffs on liability. Morrison v. County of Fairfax, VA, 826 F.3d 758 (4th Cir. 2016).

        1.6     By letters dated July 22, 2016, Plaintiffs submitted State Law Claims for overtime

compensation to the County’s Board of Supervisors. The Board of Supervisors did not act upon

Plaintiffs’ claims within 90 days of Plaintiffs’ letters.

        1.7     Rather than have the district court decide the pending cross motions for summary

judgment on the two remaining issues, specifically (a) Plaintiffs’ entitlement to liquidated

damages, and (b) the length of the statute of limitations (Dkt. 107, Plaintiffs’ Motion; Dkt. 109,

Defendant’s Motion), the Parties agreed to enter mediation.

        1.8     The Parties participated in mediation with the assistance of U.S. Magistrate Judge

John F. Anderson on November 15, 2016. Counsel for the Parties, as well as representatives of the

Parties who were authorized to agree to a settlement that they could recommend to the absent party

Plaintiffs and to the County’s Board of Supervisors, respectively, participated.

        1.9     The Parties have agreed to settle the matters in dispute between and among them

pursuant to the terms of this Agreement. Specifically, the Parties and their counsel have

considered that the interests of all concerned are best served by compromise, settlement, and

dismissal of the Plaintiffs’ FLSA claims with prejudice and withdrawal of their State Law Claims.
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 4 of 16 PageID# 9131




The Parties have concluded that the terms of this Agreement are fair, reasonable, adequate, and in

the Parties’ mutual best interests.

       1.10    The Parties, through their counsel, by separate motion, will seek judicial approval

of this Settlement Agreement. In the event the proposed settlement contained in this Agreement is

not finally approved by the Court, this Agreement will no longer have any effect and the Parties

will revert to their respective positions as of the date and time immediately prior to the execution

of this Agreement.

 II.     PAYMENT AND DISTRIBUTION

       2.1     In consideration for the terms, conditions and promises in this Agreement, the

County, in accordance with paragraph 2.2 and 2.4, shall pay or cause to be paid to Plaintiffs a total

of $7,850,000.00 (“the Settlement Amount”). The Settlement Amount will be divided and

distributed to Plaintiffs as follows: (1) one check in the amount of $1,400,000.00, payable to

Plaintiffs’ counsel, Woodley & McGillivary LLP, representing reimbursed attorneys’ fees and

expenses (the “Attorneys’ Fees Amount”); Plaintiffs’ counsel shall provide the County with a W-9

within two days after the Parties have executed this Agreement; (2) one check in the amount of

$3,225,000.00, payable to Plaintiffs’ counsel, Woodley & McGillivary LLP, representing

liquidated damages to Plaintiffs (the “Liquidated Damages Amount”), which will be distributed by

Plaintiffs’ counsel to individual Plaintiffs; and (3) a set of payroll checks payable to individual

Plaintiffs, totaling a pre-tax amount of $3,225,000.00 (“the Back Pay Amount”), which shall be

distributed to individual Plaintiffs in accordance with the pre-tax amounts set forth in Exhibit A to

this Agreement, to which the County shall be entitled to apply all applicable deductions and

withholdings for that individual Plaintiff (the “Individual Back Pay Amounts Less Applicable

Deductions”). These amounts are agreed to among the Parties to compromise, settle and satisfy
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 5 of 16 PageID# 9132




the Released Claims described in paragraph 3.1 below, liquidated damages related to the Released

Claims, and all attorneys’ fees and expenses related to the Released Claims.

       2.2      The County shall pay the Settlement Amount within 30 days after the date that the

Court enters an Order approving this Agreement. After this 30-day period, interest shall accrue on

any unpaid Settlement Amount at the rate set forth in 28 U.S.C. § 1961.

       2.3      Plaintiffs’ counsel Woodley & McGillivary LLP will be responsible for distributing

to each Plaintiff listed in Exhibit A his/her respective share of the Liquidated Damages Amount.

       2.4      The County will be responsible for distributing the Back Pay Amounts by sending

to Plaintiffs’ counsel the payroll checks that represent each Plaintiff’s Individual Back Pay

Amount Less Applicable Deductions, along with a document identifying all deductions and

withholdings.

       2.5      Plaintiffs and their counsel determined the method used to calculate the amounts to

be paid to each Plaintiff. For purposes of computing the gross amount of back pay and liquidated

damages for each Plaintiff, Plaintiffs relied on Dr. Lanier’s September 27, 2016, Expert Report on

damages. The calculation methodology used in the Expert Report computes an additional half-time

pay (i.e., half the Plaintiff’s regular rate of pay) for each hour of overtime worked above the 212-

hour threshold in a 28-day work cycle for each Plaintiff, including hours spent in a paid leave

status. The computations are based on payroll records produced by the County for the entire

recovery period through July 8, 2016, and then projected from July 9, 2016 through September 16,

2016. The recovery period begins, at the earliest, on January 3, 2011 and ends, at the latest, on

September 16, 2016, which is the last day that the Plaintiffs were treated by the County as exempt

from the FLSA. Based on the Expert’s Report, the total amount of back pay for this period for all

Plaintiffs, inclusive of projections, is $5,794,320.00. The excess settlement monies obtained for
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 6 of 16 PageID# 9133




the Plaintiffs (i.e., the $655,680.00) qualify as liquidated damages and equal approximately 11%

of the back pay. However, because the County has a different view regarding the length of the

recovery period, Plaintiffs’ entitlement to liquidated damages, and the viability of Plaintiffs’ State

Law claims, Plaintiffs have agreed that the total amount of back pay and liquidated damages

recovered under the Settlement should be divided in half, with 50% comprising liquidated

damages, and 50% comprising back pay. Plaintiffs and their counsel were solely responsible for

determining the allocations among Plaintiffs and determining the distribution of funds.

       2.6     Plaintiffs and their counsel, Woodley & McGillivary LLP, will defend, release, and

hold the County harmless from any and all claims or causes of action arising from the allocation

and distribution of the Settlement Amount.

       2.7     The County shall issue W-2 forms to the Plaintiffs that reflect the Individual Back

Pay Amounts set forth in Exhibit A to this Agreement, Less Applicable Deductions. Plaintiffs’

counsel shall distribute to each Plaintiff receiving liquidated damages a Miscellaneous Income

Form 1099 reflecting the amount paid to that Plaintiff as liquidated damages. Each Plaintiff agrees

that he or she will be responsible for his or her individual tax liability associated with the

liquidated damages payments made to him or her under this agreement. Plaintiffs and Plaintiffs’

counsel agree that they shall indemnify and hold the County harmless in the event of any dispute

concerning whether taxes are owed by any Plaintiff on the liquidated damages part of the

settlement.

       2.8     All payments to Plaintiffs shall be deemed to be paid solely in the year in which

such payments are issued to Plaintiffs. It is expressly understood and agreed that the receipt of

such Settlement Payments will not entitle any Plaintiff to additional compensation or benefits

under any bonus, contest, or other compensation or benefit plan or agreement in place during the
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 7 of 16 PageID# 9134




period covered by the Agreement, nor will it entitle any Plaintiff to any increased retirement or

matching benefits, or deferred compensation benefits. It is also expressly understood and agreed

that no pension contributions shall be taken from the back pay payments. It is the intent of this

Agreement that the settlement payments provided for in this Agreement are the sole payments to

be made to the Plaintiffs, and that the Plaintiffs are not entitled to any new or additional

compensation or benefits as a result of having received payment pursuant to this Agreement.

 III.    RELEASE AND COVENANT NOT TO SUE

        3.1    Each Plaintiff for himself or herself, and his or her spouse and family, attorneys (if

any), agents, executors, administrators, personal representatives, heirs, successors, any future

estates, assigns and beneficiaries, and any and all of them (collectively, the “Releasers”),

voluntarily and with the advice of counsel, fully and forever releases, acquits, and discharges the

County, its Board of Supervisors, including all of its present or former members, its departments,

agencies, employees, agents, attorneys, accountants, administrators, and any or all of them and all

persons acting by, through, under, or in concert with any of them (collectively, the “Releasees”), in

their personal, individual, official and/or corporate capacities, from all Federal and State wage and

hour claims asserted in the Lawsuit, and all federal, state and/or local statutory wage and hour

claims that could have been asserted in the Lawsuit arising from each Plaintiff’s work for the

County of Fairfax’s Fire and Rescue Department from the beginning of time up to and through

September 17, 2016 (the “Released Claims”).

        3.2    All Plaintiffs shall be deemed to and shall have waived, released, discharged and

dismissed all Released Claims as set forth in Paragraph 3.1, with full knowledge of any and all

rights they may have, and they hereby assume the risk of any mistake in fact in connection with

the true facts involved or with regard to any facts which are now unknown to them.
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 8 of 16 PageID# 9135




       3.3     All Plaintiffs understand and agree that to the fullest extent permitted by law, they

are precluded from filing or pursuing any legal claim or action of any kind against any entity at

any time in the future, or with any federal, state or municipal court, tribunal or other authority

arising out of the Released Claims.

       3.4     All Plaintiffs agree that they are entering this Agreement knowingly, voluntarily,

and with full knowledge of its significance. Each Plaintiff affirms that he/she has not been

coerced, threatened, or intimidated into agreeing to the terms of this Agreement, and he/she has

been advised to consult with an attorney.

 IV.     DISMISSAL OF CLAIMS

       4.1     Plaintiffs agree to dismissal of all claims asserted in the Lawsuit against the County

with prejudice as specified in paragraph 3.1, upon the County’s execution of the Settlement

Agreement and the Court’s Order approving the Settlement Agreement.

       4.2     Plaintiffs also hereby irrevocably withdraw their State Law Claim letters of May 4,

2014, and July 22, 2016, to the Board of Supervisors.

 V.      NO ADMISSION OF LIABILITY

       5.1     The County does not admit any allegations made against it in this lawsuit, including

but not limited to Plaintiffs’ allegations of willfulness and lack of good faith. Nothing contained

in this Agreement shall be deemed an admission of liability or of any violation of any applicable

law, rule, regulation, order or contract of any kind.

 VI.     CONTINUED JURISDICTION

       6.1     The U.S. District Court for the Eastern District of Virginia shall have continuing

jurisdiction to construe, interpret and enforce the provisions of this Agreement, and to hear and

adjudicate any dispute or litigation arising under this Agreement.
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 9 of 16 PageID# 9136




 VII.    PARTIES’ AUTHORITY

         7.1     The signatories hereby represent that they are fully authorized to enter this

 Agreement and to bind the parties hereto to the terms and conditions hereof. The Parties

 acknowledge that the Plaintiffs were afforded the opportunity to submit a written objection to the

 Court and to plaintiffs’ counsel by 5:00 p.m. on December 1, 2016, and to then voice such

 objection in Court at a Fairness Hearing on December 2, 2016, at 10 am. A Plaintiff who did not

 object to the Settlement Agreement did not have to attend the Fairness Hearing or take any other

 action to approve the settlement and/or otherwise indicate his/her agreement to the terms of the

 settlement.

         7.2     All of the Parties acknowledge that they have been represented by competent,

 experienced counsel throughout all negotiations which preceded the execution of this

 Agreement, and this Agreement is made with the consent and advice of counsel who have jointly

 prepared this Agreement.

 VIII. MUTUAL FULL COOPERATION

        8.1    The Parties agree to use their best efforts and to fully cooperate with each other to

accomplish the terms of this Agreement, including but not limited to, execution of such documents

and to take such other action as may reasonably be necessary to implement and effectuate the

terms of this Agreement.

 IX.     ENFORCEMENT ACTIONS

        9.1    In the event that one or more of the parties to this Agreement institutes any legal

action, arbitration, or other proceeding against any other Party or Parties to enforce the provisions

of this Agreement, the successful Party or Parties shall be entitled to recover from the unsuccessful
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 10 of 16 PageID# 9137




Party or Parties reasonable attorneys’ fees and costs, including expert witness fees incurred in

connection with any enforcement actions.

 X.      MODIFICATION

        10.1   This Agreement and its attachment may not be changed, altered, or modified,

except in writing and signed by the Parties hereto, and approved by the Court.

 XI.     ENTIRE AGREEMENT

        11.1   This Agreement and its attachments constitute the entire agreement between the

Parties concerning the subject matter hereof. No extrinsic oral or written representations or terms

shall modify, vary or contradict the terms of this Agreement. In the event of any conflict between

this Agreement and any other settlement-related document, the parties intend that this Agreement

shall be controlling.

 XII.     CHOICE OF LAW/JURISDICTION

        12.1   This Agreement shall be subject to, governed by, construed, enforced, and

administered in accordance with the laws of the State of Virginia, both in its procedural and

substantive aspects, and shall be subject to the continuing jurisdiction of the United States District

Court for the Eastern District of Virginia. This Agreement shall be construed as a whole

according to its fair meaning and intent, and not strictly for or against any Party, regardless of who

drafted or who was principally responsible for drafting this Agreement or any specific term or

condition thereof.

 XIII. VOIDING THE AGREEMENT

        13.1   In the event this Agreement does not obtain judicial approval for any reason, this

Agreement shall be null and void in its entirety, unless expressly agreed in writing by all parties.

         [THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK]
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 11 of 16 PageID# 9138




 IN WITNESS WHEREOF, the undersigned have duly executed this Agreement as of the date

 indicated below:



 WOODLEY & McGILLIVARY LLP                      COUNTY OF FAIRFAX, VIRGINIA
   1101 Vermont Street N.W., Suite 1000             12000 Government Center Parkway
   Washington, D.C. 20005                           Fairfax, VA 22035

 By: ________________________________           By: _________________________
       Molly A. Elkin

       Counsel for Plaintiffs



 Dated: December 6, 2016
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 12 of 16 PageID# 9139




                       Exhibit A
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 13 of 16 PageID# 9140
                       MORRISON, et al., v. County of FAIRFAX
                         SUMMARY LISTING OF AMOUNTS



          Ref#                  Name              PERSNO        BACKPAY
            1    ALEXANDER,CALVIN MCBEIL           304687   $     19,115.15
            2    ALLEN,MICHAEL                     312653   $     10,917.03
            3    ALVARO, ROCCO                     300990   $      5,714.50
            4    ARNOLD,THOMAS G                   302881   $      3,605.85
            5    ATWELL,WILLIAM J                  302593   $     11,802.39
            6    BANASIK,ROBERT ALAN               311845   $      9,898.22
            7    BARB, TIMOTHY O                   308069   $     17,011.92
            8    BARB,TODD IVAN                    308072   $     39,792.74
            9    BARNHART,MATHEW COFFMAN           304143   $     28,847.50
           10    BARRERA,MERVIN E                  306473   $     50,283.69
           11    BEASLEY,OSCAR L                   307128   $      8,266.87
           12    BEST JR, WILLIAM MARVIN           306283   $     11,958.88
           13    BETZ,BILL C                       303460   $     21,602.05
           14    BORDEN JR, DANIEL B               309867   $      5,722.55
           15    BOWMAN,EDWARD D                   304658   $     13,663.54
           16    BRANDELL,FRED H                   307374   $     14,132.66
           17    BRASFIELD JR, DONALD R            304003   $     35,163.54
           18    BROWN,CHRISTOPHER MORGAN          311752   $     13,196.45
           19    BRULEY, JON P                     302111   $     12,596.86
           20    BUCHANAN, CLYDE M                 312201   $     21,539.14
           21    BURKHAMMER,CARLTON G              313557   $     60,523.68
           22    BURLINGAME, ROBERT L              305145   $        617.18
           23    BURNS,MATTHEW CHARLES             310142   $     20,410.75
           24    BURT,LEO B                        321251   $        475.99
           25    BUTLER,LEROY L                    308083   $     15,159.18
           26    CERZULLO, KEITH W                 303239   $     19,074.62
           27    CHESEK,JOHN M                     302697   $     60,892.06
           28    CIARROCCHI,MICHAEL J              321401   $      3,184.48
           29    CLARK,STEVEN D                    312471   $     10,364.05
           30    COCHRANE,BRADFORD ANDREW          306470   $      4,259.09
           31    CONNOLLY,THOMAS M                 301241   $     17,057.45
           32    CONRAD,DAVID P                    306248   $     45,739.80
           33    COX,ARTHUR DANIEL                 304943   $     38,353.96
           34    CRAMER, DUSTIN J                  303363   $     11,898.21
           35    CRAWFORD,TRACY ELLEN BRINKLEY     305116   $      5,547.76
           36    CROSS,KEITH A                     310842   $      6,190.41
           37    CUNNINGHAM,CHARLES R              308121   $     20,860.70
           38    CUNNINGHAM,ERIC F                 303469   $     14,123.27
           39    DANIELS,DANNY J                   309264   $     16,535.90
           40    DAVIS,MICHAEL B                   300086   $     24,063.00
           41    DEAN,TROY H                       305441   $     23,127.00
           42    DEMARK,YOLANDA                    315821   $     19,332.36
           43    DEVERA,SAMUEL THOMAS SAMSON       317557   $     15,392.79
           44    DUBETSKY,KEITH M                  301549   $      9,638.18
           45    EDMONSTON, BRIAN CHRISTOPHER      309338   $      8,736.79
           46    EDWARDS,DEREK A                   301074   $     17,507.12
           47    EDWARDS,FELECIA LORRIANNE         309806   $     18,459.27
           48    EDWARDS,KEVIN                     302482   $     31,624.78
           49    EVANS,SEAN T                      311631   $     43,139.12




                                    Page 1 of 4
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 14 of 16 PageID# 9141
                       MORRISON, et al., v. County of FAIRFAX
                         SUMMARY LISTING OF AMOUNTS



          Ref#                  Name              PERSNO        BACKPAY
           50    FEASTER,MARK L                    320157   $      3,030.59
           51    FISCHER,MICHAEL J                 304713   $     14,641.90
           52    FLANIGAN,COLIN D                  303763   $     10,082.03
           53    FLINT, THOMAS L                   304272   $      6,475.13
           54    FONTANA,MICHAEL JOSEPH            316627   $     22,563.02
           55    GALVEZ,RAMIRO H                   311389   $     38,067.47
           56    GARCIA,MICHAEL J                  308054   $     14,687.50
           57    GEFFEN,KENNETH G                  317649   $      8,483.33
           58    GOFF, JARED B                     301109   $        589.63
           59    GONZALEZ,GEORGE O                 307212   $     35,742.22
           60    GORHAM,TODD R                     301232   $     11,481.82
           61    GRAY,SAMUEL LOUIS                 318131   $      2,920.28
           62    GRIFFIN,RAYMOND E                 304546   $     16,944.04
           63    GRIGG,WESLEY D                    312461   $      3,408.24
           64    GRUENDEL,DAVID K                  306317   $     17,538.34
           65    GUDITUS,MARK                      308889   $      8,074.25
           66    HALL,DAVID W                      308209   $      8,167.69
           67    HARRISON,JAMES T                  300653   $      3,992.11
           68    HEMINGWAY, SHERYL L               315345   $      6,133.78
           69    HENDERSON JR, CHARLES C           318416   $     20,459.51
           70    HESSEL,KIT R                      303092   $     29,845.60
           71    HIGGINBOTHAM,JOHN E               313651   $      9,680.23
           72    HOBGOOD,JAMES PETER               304644   $     22,215.40
           73    HOOD,KIMBERLY ANN                 301238   $     17,106.06
           74    HOUGHTON,TRENTON L                317755   $      9,447.71
           75    HUNTER,GREGORY W                  312751   $     20,536.18
           76    IACONE,JAMES A                    304676   $      4,018.55
           77    ISTVAN,JAMES J                    304345   $      7,189.95
           78    ISTVAN,MICHAEL A                  304942   $     37,331.57
           79    JACKSON,ANTHONY L                 318662   $     24,217.04
           80    JOHNSON,JAMES B                   309147   $     52,396.27
           81    JOHNSON,REGINALD T                304257   $      3,266.10
           82    JOHNSON, THOMAS N                 300329   $     25,262.51
           83    JOHNSON,WALTER E                  300733   $     10,342.81
           84    KALEDA,JOSEPH M                   303718   $     21,279.33
           85    KAPLAN,GLENN D                    307954   $      3,607.14
           86    KELLY,PATRICK T                   302831   $     12,935.71
           87    KELLY,REBECCA PRICE               311929   $     25,352.78
           88    KINGDON,WILLIAM R                 306156   $      6,384.15
           89    KISER,JOSEPH L                    310945   $     10,774.38
           90    KITCHEN,ROBERT W                  303805   $     32,477.41
           91    KNERR,JOSEPH E                    310923   $     10,437.72
           92    KONCZAL,ROBERT A                  315098   $      4,071.86
           93    KOSTECKA,TONY C                   311069   $     18,899.35
           94    KULEY,RONALD J                    306465   $     13,106.75
           95    LANCING,RICHARD M                 305096   $     20,694.75
           96    LANGE,DAVID G                     304506   $     11,250.73
           97    LEE,JAMES E                       309783   $     15,818.34
           98    LEETE,JOHN L                      312481   $      2,841.57




                                    Page 2 of 4
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 15 of 16 PageID# 9142
                       MORRISON, et al., v. County of FAIRFAX
                         SUMMARY LISTING OF AMOUNTS



          Ref#                  Name             PERSNO        BACKPAY
           99    LEWIS,JEFFREY S.                 300277   $     42,811.66
          100    LISON,ROBERT S                   314792   $     36,389.99
          101    LOPEZ,MATTHEW MOLEIRO            301226   $     34,162.95
          102    LYNCH,WILLIAM S                  303162   $      9,216.25
          103    MAHAM,BARRY W                    311717   $     50,782.33
          104    MARKS,MICHAEL J                  309849   $     15,901.11
          105    MARTIN,CHARLES A                 307167   $     29,069.70
          106    MASIELLO,JAMES J                 309007   $     16,821.61
          107    MASON,GLENN A                    310047   $      6,301.68
          108    MATTHEWS,COREY ALPHONSO          318407   $      6,859.87
          109    MAYHEW,THOMAS R                  306257   $      9,705.19
          110    MCFARLAND, STEVEN T              312903   $           -
          111    MCGEHEE,ROGER T                  323443   $      5,639.32
          112    MCKINNEY,RICHARD A               311673   $     16,081.36
          113    MCNAMARA,KERWIN ANDREW           303066   $      4,448.78
          114    MENSAH,FRANCIS O                 315588   $     16,012.01
          115    MENTON,MARK P                    315052   $     26,066.53
          116    MERRITT,JOSEPH DONALD            315806   $     28,035.17
          117    MILLER,STEPHEN E                 316737   $     25,091.52
          118    MOHLER,ROBERT M                  310599   $     15,908.58
          119    MONGOLD,JEFFREY L                309077   $     12,266.49
          120    MONTAGUE,DONALD P                301433   $      4,817.19
          121    MORAVITZ,BRIAN E                 308784   $      9,146.92
          122    MORRIS,JOHN W                    311587   $     18,443.94
          123    MORRISON,GERARD J                310609   $     57,054.87
          124    MOXLEY,RICHARD K                 323655   $           -
          125    NIEMIEC,JOHN R                   303095   $     27,434.95
          126    NIX,BRYAN J                      317063   $     36,431.06
          127    NORRIS,STEVEN D                  306282   $     11,189.52
          128    O'BRIEN,STEPHEN TODD             311572   $     23,913.92
          129    PAINTER,MILTON L                 308980   $      5,215.10
          130    PALAU,JOSEPH                     310626   $     20,128.73
          131    PASSMORE,DENNIS                  307100   $     13,032.74
          132    PEMBERTON,GARY D                 305985   $     26,327.43
          133    PETERS, JOHN E                   303553   $      9,270.44
          134    PHILLIPS,DALLAS D                323958   $        360.53
          135    PISANI,RALPH M                   317021   $     27,009.91
          136    POLEN,ELTON W                    307101   $     24,705.76
          137    PULLEN,CHARLES E                 312468   $      5,318.94
          138    RANCK,E MARTIN                   305142   $      8,292.48
          139    RATHBONE,BARRY JAMES             305345   $     13,698.62
          140    RICHTER,JOHN W                   301516   $     23,170.72
          141    ROBB,NATALIE D                   318184   $     14,478.16
          142    RODRIGUEZ,RONNIE A               309892   $     17,649.85
          143    RYAN,MATTHEW P                   304235   $     23,245.81
          144    SCHELLHAMMER,WILLIAM             305149   $     13,229.34
          145    SCHROEDER,MARK A                 314860   $     60,033.82
          146    SCHWARZMANN,DAVID                302611   $     98,277.56
          147    SEASE,MICHAEL LEROY              304800   $      9,627.96




                                   Page 3 of 4
Case 1:14-cv-00005-JFA Document 166-1 Filed 11/30/16 Page 16 of 16 PageID# 9143
                       MORRISON, et al., v. County of FAIRFAX
                         SUMMARY LISTING OF AMOUNTS



          Ref#                   Name             PERSNO      BACKPAY
          148    SELLERS,DAVID KELLEY              317087   $    29,570.43
          149    SHAW,DANIEL D                     304507   $     8,446.09
          150    SMITH,RICHARD C                   308893   $     4,787.46
          151    SMITH,SCOTT M                     309872   $    18,316.79
          152    SNAPP, MICHAEL S                  311947   $    17,123.89
          153    STRICKLAND III, REX E             310122   $       633.06
          154    STRICKLEN,JAMES R                 308130   $    14,906.67
          155    STROUP,CHERI ELAINE               303967   $     6,650.41
          156    SYDNOR,RONALD B                   304360   $     4,218.99
          157    THOMPSON,CHRISTOPHER              310898   $    10,422.11
          158    THOMPSON,KENDALL                  310901   $     2,065.48
          159    THROWER,LORENZO M                 311661   $    46,745.65
          160    TILLES,CHRISTOPHER                315398   $     9,335.18
          161    TOBIN,DAVID P                     309276   $    23,500.07
          162    TOLLE,JEFFREY A                   303429   $    15,065.73
          163    TSCHANN,GLENN F                   306181   $     6,087.26
          164    VANNOY, WILLIAM D                 312923   $    19,863.15
          165    VAUGHT,DONALD L                   304131   $   130,429.17
          166    WALMER,JACK L                     302896   $    26,303.77
          167    WALSER,JOHN L                     303597   $    12,585.84
          168    WEALAND,THOMAS J                  325203   $       776.59
          169    WELLS,OSCAR T                     316180   $    15,393.78
          170    WENTZEL,WAYNE P                   311706   $    18,376.05
          171    WHETSELL, MICHAEL W               306268   $    23,619.66
          172    WHITE,PAUL L                      312815   $     3,011.65
          173    WILDMAN, KENNETH A                307824   $     6,869.33
          174    WILLIAMS,JEROME I                 301349   $     8,545.49
          175    WILLIAMS,MARCUS D                 313709   $    53,784.47
          176    WRIGHT,ELTON N                    318090   $     5,096.08
                  TOTAL                                     $ 3,225,000.00




                                    Page 4 of 4
